







		NO. 12-07-00281-CR


NO. 12-07-00282-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




RICHARD LYNN WHITE,§
	APPEALS FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Richard Lynn White appeals from two convictions for aggravated assault.  Appellant's
counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L.
Ed. 2d 493 (1967), and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  The State
waived the filing of a brief.  We affirm. 


Background

	Appellant shot his wife and a bystander outside a hospital in Tyler, Texas.  He was charged
with two counts of aggravated assault.  One offense was a second degree felony because it was
alleged that Appellant caused serious bodily injury to another while using a deadly weapon.  See
Tex. Penal Code Ann. § 22.02(a)(2), (b) (Vernon Supp. 2007).  The second offense was a first
degree felony because it was alleged that Appellant used a deadly weapon to cause serious bodily
injury to a family member.  See id. § 22.02(b)(1).  Appellant waived a jury trial and pleaded guilty
to each offense without a plea agreement.  Following the preparation of a presentence report and a
hearing on punishment, the trial court assessed punishment at twenty years of imprisonment for the
second degree felony offense and life imprisonment for the first degree felony offense, along with
a fine of $10,000 in each case.  This appeal followed. 


Analysis Pursuant to Anders v. California	Appellant's counsel has filed a brief in compliance with Anders and Gainous.  Counsel states
that he has diligently reviewed the appellate record and that he is well acquainted with the facts of
this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), counsel's brief presents a thorough chronological summary of the procedural history
of the case and further states that counsel is unable to present any arguable issues for appeal. (1)

	We have considered counsel's brief and have conducted our own independent review of the
record.  See Anders, 386 U.S. at 745, 87 S. Ct. at 1400; see also Penson v. Ohio, 488 U.S. 75, 80,
109 S. Ct. 346, 350, 102 L. Ed. 2d 300 (1988).  We have found no reversible error.  See Bledsoe v.
State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw in each case.  See Stafford
v. State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991).  Having found no reversible error, we affirm
the judgments of the trial court and grant Appellant's counsel's motions for leave to withdraw.

Opinion delivered July 9, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




	







(DO NOT PUBLISH)
1.  Appellant's counsel certified in his motion to withdraw that he provided Appellant with a copy of this
brief.  Appellant was given time to file his own brief in these causes. The time for filing such a brief has expired, and
we have received no pro se brief.


